         Case 4:18-cv-00036-DCN Document 40 Filed 02/20/18 Page 1 of 4




Richard R. Friess, Esq. ISB #7820
friess@thwlaw.com
THOMSEN HOLMAN WHEILER, P.L.L.C.
2635 Channing Way
Idaho Falls, ID 83404
Telephone: (208) 522-1230
Fax: (208) 522-1277

Brian M. Lutz, CA SBN #255976 (admitted pro hac vice)
blutz@gibsondunn.com
GIBSON, DUNN & CRUTCHER LLP
555 Mission Street, Suite 3000
San Francisco, CA 94105-0921
Telephone: (415) 393-8200
Fax: (415) 393-8306

Stephen C. Whittaker, CA SBN #283518 (admitted pro hac vice)
cwhittaker@gibsondunn.com
GIBSON, DUNN & CRUTCHER LLP
3161 Michelson Drive
Irvine, CA 92612-4412
Telephone: (949) 451-3800
Fax: (949) 451-4220

Attorneys for Plaintiffs

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO



 MELALEUCA, Inc., an Idaho corporation,                  Case No. 4:18-cv-36
 and MELALEUCA (CHINA) WELLNESS
 PRODUCTS CO., LTD., a wholly-owned
 subsidiary of Melaleuca, Inc.                      AMENDED MOTION FOR
                                                   PRELIMINARY INJUNCTION
        Plaintiffs,

 v.

 KOT NAM SHAN, an individual, and
 SHAKLEE CORP., a Delaware corporation,

        Defendants.




1 – AMENDED MOTION FOR PRELIMINARY INJUNCTION
            Case 4:18-cv-00036-DCN Document 40 Filed 02/20/18 Page 2 of 4



       The Plaintiffs, Melaleuca, Inc. (“Melaleuca”) and Melaleuca (China) Wellness Products

Co., Ltd. (“Melaleuca China”), by and through their counsel of record, respectfully request that

the Court enter a Preliminary Injunction against the Defendants Kot Nam Shan and Shaklee

Corporation (“Shaklee”). The Amended Motion for Preliminary Injunction is based upon the

record, Amended Complaint, memorandum of law and supporting declarations and exhibits, and

other supporting evidence. The motion is made pursuant to Rule 65 of the Federal Rules of Civil

Procedure.

       Plaintiffs seek an order enjoining Defendants, until a trial on the merits is heard before

the Court, from the following:

       As it pertains to Defendant Kot:

       a.       Working in any capacity for or with Shaklee.

       b.       Promoting, endorsing, speaking on behalf of, or making any public or non-public

                statements concerning Shaklee or its products.

       c.       Using or disclosing Plaintiffs’ confidential or proprietary information, whether in

                written or non-written form.

       d.       Communicating directly or indirectly with Plaintiffs’ employees, agents,

                representatives, and Marketing Executives.

       e.       Engaging in any conduct in breach of the Non-Competition Agreements or the

                Confidentiality and Non-Solicitation Agreements between Kot and Plaintiffs.

       As it pertains to Defendant Shaklee (including any Shaklee subsidiaries, affiliates, or

       related entities):

       a.       Employing Kot or working with him in any capacity.




2 – AMENDED MOTION FOR PRELIMINARY INJUNCTION
           Case 4:18-cv-00036-DCN Document 40 Filed 02/20/18 Page 3 of 4



      b.       Making any public or non-public statements concerning Kot or Kot’s affiliation

               with Plaintiffs, including using Kot’s name, likeness, or affiliation to promote or

               endorse Shaklee or its products.

      c.       Using or disclosing Plaintiffs’ confidential or proprietary information.




3 – AMENDED MOTION FOR PRELIMINARY INJUNCTION
        Case 4:18-cv-00036-DCN Document 40 Filed 02/20/18 Page 4 of 4



DATED February 20, 2018.

                                     THOMSEN HOLMAN WHEILER, PLLC


                                     By: /s/ Richard R. Friess
                                        Richard R. Friess
                                        THOMSEN HOLMAN WHEILER, PLLC
                                        2635 Channing Way
                                        Idaho Falls, ID 83404
                                        Telephone: (208) 522-1230
                                        Fax: (208) 522-1277

                                        Of counsel:

                                        Brian M. Lutz (admitted pro hac vice)
                                        blutz@gibsondunn.com
                                        GIBSON DUNN & CRUTCHER LLP
                                        555 Mission Street, Suite 3000
                                        San Francisco, CA 94105-0921
                                        Telephone: (415) 393-8200
                                        Fax: (415) 393-8306

                                        Stephen C. Whittaker (admitted pro hac
                                        vice)
                                        cwhittaker@gibsondunn.com
                                        GIBSON, DUNN & CRUTCHER LLP
                                        3161 Michelson Drive
                                        Irvine, CA 92612-4412
                                        Telephone: (949) 451-3800
                                        Fax: (949) 451-4220

                                        Attorneys for Plaintiff




4 – AMENDED MOTION FOR PRELIMINARY INJUNCTION
